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                                                         Exhibit A to the Complaint
Location: Queens, NY                                                                                     IP Address: 72.68.184.97
Total Works Infringed: 34                                                                                ISP: Verizon Internet Services
 Work      Hashes                                                               UTC              Site           Published      Registered   Registration
 1         Info Hash: AE387A2D8AB71715A10150CCB9B59C1224E884D1                          10-03-   Vixen          09-16-2022     10-05-2022   PA0002373762
           File Hash:                                                                    2022
           E0DB68EE874472ADD7F1FCC02D747B705B47321C34476CAC34DCAC066C4DA80E           14:14:10
 2         Info Hash: 2B3A6FB4A574398B97B75729900654F46097C686                          09-04-   Vixen          01-14-2022     03-04-2022   PA0002345789
           File Hash:                                                                    2022
           8A4FFA7A1B8F147CFF88E879A3C887B7EFFE7A67837564BCDDC5811D14E45407           14:21:46
 3         Info Hash: A20FE2805A91E5CA1A80FB5417CC98743F2E946E                          09-04-   Vixen          03-04-2022     03-29-2022   PA0002342709
           File Hash:                                                                    2022
           725EDDE1D1DC94B4A4F7F101CD7744A6026473539C38260B872927EF99BFE12D           14:19:55
 4         Info Hash: 67182DA26F0A55B977B6B7A4522AD2DA92816CA6                          09-04-   Vixen          09-29-2021     11-11-2021   PA0002321322
           File Hash:                                                                    2022
           D335B0D1231B2EF71B2B41B7BC9C6BF695E9B04158A2748ADC09C169E6DF29FC           14:18:42
 5         Info Hash: CBC01DA1510BFA8C15BDBF3A92797FF123E312FB                          09-04-   Vixen          08-26-2022     10-05-2022   PA0002373767
           File Hash:                                                                    2022
           D4E904BA4C609FFBC7E39FF027504609650B335BFE9D38607E79760E1072F8E3           14:16:22
 6         Info Hash: 3A93A8841E1C5830F2E63CB2EBE2CBD106D5C162                          09-04-   Vixen          06-24-2022     07-22-2022   PA0002359475
           File Hash:                                                                    2022
           44EC520BB4F7CDA797E459AF64816E53AC8791FFDF8CE7526174BE7EC441F3EA           14:16:21
 7         Info Hash: B378CAEB9DFA80E256C29E523B89DDF82169A9A8                          08-23-   Vixen          07-08-2017     08-17-2017   PA0002077664
           File Hash:                                                                    2022
           E64CACDF7AD828C5779DB739D83EE7FCDD2A79C1B31BD3E720626A8967E886CF           19:02:36
 8         Info Hash: EFEA64CC077DAA923A5387E947E7E2873D4DBE86                          08-15-   Vixen          08-12-2022     08-30-2022   PA0002367721
           File Hash:                                                                    2022
           E8CE0044F96CD53B5184038B4FCC4FCE462254473E50C0C6BF5D0F30F5B51C2F           00:14:08
 9         Info Hash: 76D21AD8087AA69EB7BF4DF16ED603A1411A7EC4                          08-05-   Vixen          01-24-2020     03-15-2020   PA0002240434
           File Hash:                                                                    2022
           881B0BBBE91B6CE7C3868F008B3DEBAF1457A2EF08F853226BC34984B338C2B5           16:57:28
 10        Info Hash: ED40EBC57F35D1578D4B3BFD964B9D1E3B203208                          07-10-   Vixen          07-08-2022     08-10-2022   PA0002370903
           File Hash:                                                                    2022
           D95EFFF182DEF22691F55C21D92CAAB8B54D4FF30850A516A5680FEEDC2666B0           15:00:23
 11        Info Hash: 832675DAB93182B2C5E5DA5110D4E3E0660CD182                          05-08-   Vixen          10-16-2018     10-28-2018   PA0002130458
           File Hash:                                                                    2022
           50A6B55F462056F39EB6959B255BD4E4EC371FF03BE75FBB0B5AD8BDA9585848           21:51:25
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Work   Hashes                                                             UTC         Site     Published    Registered   Registration
12     Info Hash: 83ABE3F3733BE033DE463456D05D132C062BAE58                   05-08-   Vixen    11-10-2018   11-25-2018   PA0002136725
       File Hash:                                                             2022
       4DED6A92EF4CCF85567C0089DA0B1A21B7BF840ABC93C302D874183782DB9D43    21:50:33
13     Info Hash: 07A71D8AB8A0645049C16B98A28538E06A009D7B                   05-08-   Vixen    09-21-2018   11-01-2018   PA0002143417
       File Hash:                                                             2022
       23550D4A0F075E0114ACDB9AC567FF96119101B08EF998CA4B56E309CD6CA039    21:49:33
14     Info Hash: A1D049D475923190FF3A7134A0D2B9F10D62914B                   05-08-   Vixen    09-26-2018   10-16-2018   PA0002127776
       File Hash:                                                             2022
       5CC7B2A2F9FDF77BAA9590EA331B4ACA835003E9200CE9B46F9375AB1B4632E8    21:48:50
15     Info Hash: 76254F2E6E895357257DB374839FB6B0D31EE525                   05-08-   Vixen    05-06-2022   05-20-2022   PA0002350383
       File Hash:                                                             2022
       3CC09759839BF770EEF7055DDCBF3949D46A0A36DF03F2D98650E0D7680D6E99    21:40:51
16     Info Hash: 1E9C5482FF7715E0E6080C60ECC7D12D17649F31                   01-30-   Vixen    01-28-2022   03-04-2022   PA0002345791
       File Hash:                                                             2022
       8BEC7BF1FF5E95F7E45CDC403D192D0CD4150A9EDDF36D76DF0B4311F2AB6572    16:14:41
17     Info Hash: 527DDD443A225CDA52FBBFAB0D2E6CF24B92EEC2                   01-21-   Slayed   12-21-2021   01-07-2022   PA0002337942
       File Hash:                                                             2022
       C27F03CB388829EE0F6824DFEA9A23030977E44F6A5884BD3C68DB8F2D89AD32    01:55:04
18     Info Hash: 938341B6239D398C2437079523388EF7328805B0                   01-21-   Slayed   09-23-2021   11-01-2021   PA0002326412
       File Hash:                                                             2022
       5D7BA00B35B84163257BD6B48B74942419B12B86ECFB3E28938902D893614310    01:52:02
19     Info Hash: EC96AF0D71EC8F8829578BF9886A6A99FE4996A3                   01-21-   Slayed   01-11-2022   02-03-2022   PA0002341794
       File Hash:                                                             2022
       3D82998FA834CA1055F021AF0279B4798821C9D3E8E8313E7C0C8715343F4D0C    01:44:50
20     Info Hash: EC0878A530C0716F9DD05AFF0DB84695357F10F8                   12-27-   Tushy    12-26-2021   02-03-2022   PA0002341847
       File Hash:                                                             2021
       05896C269E1C2658AE847F06B635ED55122CE415BA341B4282AB94AD20FC905B    13:48:42
21     Info Hash: 49EFC1AFCFB3C8851D2D820E5ADCD9E1554E0F47                   11-14-   Vixen    11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                             2021
       65B33B7E0C3E6E1AE20D36D50DB87FAE709FD01C785A8CBE943816E194912527    17:47:55
22     Info Hash: 96CADDFDBE72C9DFAB7EB987F3BFD557C277E3A4                   10-17-   Vixen    10-15-2021   10-19-2021   PA0002317061
       File Hash:                                                             2021
       26C6E3910273CE41B8E673B1D209EA2BB172229A7754CABD31478869E5C9072A    16:05:09
23     Info Hash: 796E78E98C9923EF7424A1AE7D4F3B25423B59B8                   10-02-   Vixen    09-24-2021   11-11-2021   PA0002321289
       File Hash:                                                             2021
       0001D092CF8C94B8F5E7C328C0E1CEF02B07E91B39344D2FBD403769E8896150    18:42:16
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Work   Hashes                                                             UTC         Site    Published    Registered   Registration
24     Info Hash: 332EBAD1AD7EBE13048CC30ACF98ED5D60158D90                   09-04-   Vixen   01-01-2021   02-02-2021   PA0002281154
       File Hash:                                                             2021
       28D84F1A51123CB154FF50DEDE21C81B975F0CAC39EFAE056A6B97E66DC5DA88    16:02:01
25     Info Hash: 70769081502197B6122C2F5D785022F2D4949913                   08-20-   Tushy   08-19-2021   10-05-2021   PA0002315293
       File Hash:                                                             2021
       A53C51D6D94021AED6FD5840A6FCE2482C415E930632D31DE83681FE2D132C14    04:15:26
26     Info Hash: DC1E6B6B859858F18C13DA01399171E5E91C197F                   07-06-   Vixen   06-25-2021   08-20-2021   PA0002312014
       File Hash:                                                             2021
       D787A99B81D43374C14F4D77E90C79DAA308918684AEA6AAFF8034782DF0B8CD    12:32:24
27     Info Hash: 96941E19BA4280C7FD3D9A7D0E3E05527855C742                   06-14-   Vixen   01-29-2020   02-20-2020   PA0002229058
       File Hash:                                                             2021
       BC78D943FC7055C5921788D2DEC3EB2E61F9EF8C3E67BD7711CD41D2924FC35E    16:42:42
28     Info Hash: 59E14F351794DF82C65C3B2800783CFB31F6D81E                   06-14-   Vixen   05-28-2021   08-02-2021   PA0002305093
       File Hash:                                                             2021
       0B0721380D8B6910C5F2B6F11CEF5D0BD63D0506B4909ACF0050F97FF76B81DA    12:36:56
29     Info Hash: 62E73C9CC3859E160F8473FDC0F45C658CB634C1                   03-28-   Vixen   03-12-2021   03-22-2021   PA0002282506
       File Hash:                                                             2021
       A39899E58E10ECBDF7B877D0504FFDA842067080A27FEC528CBA672B8FF67737    15:11:50
30     Info Hash: 112E71C6557CBD6ED0D55CE966645FF446B291D2                   02-10-   Vixen   01-15-2021   02-02-2021   PA0002280500
       File Hash:                                                             2021
       E53CAB90E68AFDB11EDB449106A2547C9E8B1402C58067494A217473F319FF51    14:22:21
31     Info Hash: A9ED70EE5C0527DDC912EFFBCA1E09E8771F8A99                   12-31-   Vixen   10-11-2018   10-28-2018   PA0002130457
       File Hash:                                                             2020
       6996C3BFB99F30BAA86056A30E1587F0AA0A90A4FB3B23E62FA3EE25B139F8FB    16:32:35
32     Info Hash: CA440BF020303D9EE5CAF3AFC9F6F990F10B7FFE                   12-31-   Vixen   04-24-2019   06-03-2019   PA0002178769
       File Hash:                                                             2020
       D8DA3B246C73F0C13B0C8682F85B951D2217FF7689C445472FC2A69B9D36D0D4    16:30:57
33     Info Hash: C8D9C0C90A2CB6299E043AA870049EB5D948572B                   12-05-   Tushy   09-20-2020   09-29-2020   PA0002258683
       File Hash:                                                             2020
       AC78EC6F8974E9CEFED94A8266D95E53E1715A928C946608AE0832BD357009A1    17:10:23
34     Info Hash: 707D87CA56F2EA56A699B00BD6A4C25D465F344A                   08-17-   Vixen   08-07-2020   08-18-2020   PA0002253099
       File Hash:                                                             2020
       E8C54A181C94534272A63E32A36D2986A1DD34EFCF2B15E981C720E1C07E7ECA    13:27:23
